       Case 1:24-cv-00941-JKB                Document 439                 Filed 11/08/24         Page 1 of 1




November 8, 2024                                                                     Daniel J. Luccaro
                                                                                     Direct Phone 215-665-6968
                                                                                     Direct Fax   215-701-2368
VIA ECF                                                                              dluccaro@cozen.com



The Honorable James K. Bredar
United States District Court For the District of Maryland
101 West Lombard Street
Baltimore, MD 12201

Re:    In the Matter of the Petition of Grace Ocean Private Limited, et al
       for Exoneration from or Limitation of Liability
       Case No.: 1:24-cv-00941-JKB

Dear Judge Bredar:

Cozen O’Connor represents Claimant Ace American Insurance Company in this matter. The
parties to this action have conferred and agreed to the terms of a Protective Order to be issued
by the Court. I am writing jointly on behalf of all parties to the submit the attached Joint
Proposed Protective Order for the Court’s consideration.

Thank you for your consideration of the Joint Proposed Protective Order.

Respectfully Submitted,

COZEN O'CONNOR




BY:    DANIEL J. LUCCARO

Cc: All counsel (via ECF)




                    One Liberty Place   1650 Market Street   Suite 2800     Philadelphia, PA 19103
                         215.665.2000      800.523.2900      215.665.2013 Fax     cozen.com
